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 Counsel for the GUC Trustee of
 the GUC Trust
 IN THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK
      In re:                                                         Chapter 11

      INTERNATIONAL SHIPHOLDING                                      Case No. 16-12220 (SMB)
      CORPORATION, et al.,1
                                                                     Jointly Administered
                         Reorganized Debtors.


 1 The Reorganized Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
 International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central Gulf Lines, Inc.
 (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen & Co., Inc. (8006); LMS
 Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson, LLC (8478); Sheila McDevitt, LLC
 (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping PTE LTD (8628); LCI Shipholdings, Inc. (8094);
 and Marco Shipping Company PTE LTD (4570). The service address for each of the above Reorganized Debtors is 2200 Eller
 Drive, P.O. Box 13038, Fort Lauderdale, FL 33316.

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                           STIPULATION REGARDING THE CLAIM FILED
                          BY WESTCHESTER FIRE INSURANCE COMPANY

            THIS AGREEMENT is made this 6th day of September, 2018 by and among

 WESTCHESTER FIRE INSURANCE COMPANY ("Westchester"), Robert Michaelson (the

 “GUC Trustee”), in his capacity as the trustee of the International Shipholding GUC Trust (the

 “GUC Trust”), and the Reorganized Debtors (Westchester, the GUC Trust, the GUC Trustee and

 the Reorganized Debtors shall be collectively referred to as “Parties”, and each is a “Party”).

            WHEREAS, on July 31, 2016, the above-captioned Reorganized Debtors being

 International Shipholding Corporation, et al., each filed a Voluntary Petition for Relief under

 Chapter 11 of the Bankruptcy Code; and

            WHEREAS, on March 2, 2017, the Court entered its Findings of Fact, Conclusions of

 Law, and Order Confirming First Amended Modified Joint Chapter 11 Plan of Reorganization

 for International Shipholding Corporation and Its Affiliated Debtors [Docket No. 671]

 confirming the chapter 11 plan annexed there to (the "Plan"); and

            WHEREAS, on July 3, 2017, the Effective Date2 of the Plan occurred; and

            WHEREAS, Westchester timely filed the following claims in the Debtors' bankruptcy

 cases: 1293, 1295, 1296, 1305, 1311, 1312, 1313, 1315, 1353, 1355, 1357, 1358, 1359, 1360,

 1361 and 1362 (the “Claims”); and

            WHEREAS, § 11.10 of the Plan provides for the treatment of the Claims; and

            WHEREAS, the GUC Trustee filed the GUC Trustee's Fourth (Non-Substantive)

 Omnibus Objection to Claims (Withdrawn, Duplicate, and Wrong Debtor Claims) (the

 "Objection") [Docket No. 908]; and

            WHEREAS, the Objection seeks to deny the following proofs of claim of Westchester as

 having no liability against the asserted Debtor:


 2
     Capitalized terms not defined in this Stipulation shall have the meaning ascribed to them in the Plan.
                                                              2
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 Claim      Date Claim         Asserted Claim          Asserted Claim               Total4             Surviving
Number        Filed              Amount –                Amount -                                        Claim
                                  Secured3                Priority                                      Number
 1293        12/16/2016         $1,915,167.74           Unliquidated           $1,915,167.74             1362

 1295        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1296        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1311        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1312        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1313        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1315        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1355        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1358        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1359        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1360        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362

 1361        12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74              1362


 ; and

         WHEREAS, Westchester also timely filed the following proofs of claim:




 3 These numbers were used by the GUC Trustee based on the face of the filed proofs of claim where it was
 necessary to include a number, however the addendums to the proofs of claim indicate that the actual claim amount
 may differ from these amounts.
 4 These numbers were used by the GUC Trustee based on the face of the filed proofs of claim where it was

 necessary to include a number, however the addendums to the proofs of claim indicate that the actual claim amount
 may differ from these amounts.
                                                         3
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            Claim        Date Claim         Asserted Claim          Asserted Claim               Total6
           Number          Filed              Amount –                Amount -
                                               Secured5                Priority
             1305         12/16/2016         $1,915,167.74           Unliquidated           $1,915,167.74

             1353         12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74

             1357         12/16/2016         $1,915,167.74            Unliquidated          $1,915,167.74


 ; and


            WHEREAS, Westchester has executed surety bonds on behalf of various Debtors; and

            WHEREAS, one or more Debtors has signed indemnity agreements in favor of

 Westchester; and

            NOW, THEREFORE, EACH OF THE PARTIES STIPULATES AND AGREES AS

 FOLLOWS:

                                                   AGREEMENT

            1.       The above recitals are incorporated as if fully set forth herein.

            2.       Pursuant to Section 11.10 of the Plan payments owed by the Debtors to

 Westchester shall be due and payable by the Reorganized Debtors to Westchester.

            3.       Pursuant to the terms of the Plan, no funds shall be paid to, on behalf of, or for the

 benefit of, Westchester by the GUC Trustee from the GUC Trust or otherwise as defined in the

 Objection.

            4.       The GUC Trustee agrees to withdraw the Objection as to Westchester’s claims

 without prejudice.

            5.       Any ambiguities in this Stipulation are not to be construed against any Party

 solely due to the identity of the drafter.



 5   The addendums to the proofs of claim indicate that the actual claim amount may differ from these amounts.
 6   The addendums to the proofs of claim indicate that the actual claim amount may differ from these amounts.
                                                            4
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         6.        This Stipulation shall be binding upon and shall inure to the benefit of the Parties

 and their successors and assigns.

         7.        Each person signing this Stipulation represents and warrants that he or she has

 been duly authorized by, and has the requisite authority to execute and deliver this Stipulation on

 behalf of, the Party for whom he or she is purporting to act.

         8.        This Stipulation constitutes the entire agreement and understanding among the

 Parties and no Party has made any promises to or agreements with any other Party that are

 inconsistent with the agreement set forth in this Stipulation. No waiver or modification of any

 term or condition contained herein shall be valid or binding unless in writing and executed by the

 Parties hereto.

         9.        Nothing herein shall limit or impair Westchester’s rights, remedies or defenses in

 connection with its execution of any bond.

         10.       This Stipulation is governed by and shall be construed in accordance with the

 laws of the State of New York, without regard to its conflict of laws provisions.

         11.       This Stipulation may be executed and delivered in any number of counterparts,

 each of which shall be deemed an original, but all of which counterparts together shall constitute

 one and the same instrument. A photocopy of any signed counterpart to this Stipulation shall be

 deemed an original document. This Stipulation may be delivered by any reasonable commercial

 method, including by hand, mail, or electronically.

                                         [Signatures to Follow]




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          IN WITNESS WHEREOF, the Parties have executed this Stipulation on the date set forth
 below.

 Dated: September 6, 2018                           Dated: September 6, 2018

 McELROY, DEUTSCH, MULVANEY &                       PACHULSKI STANG ZIEHL & JONES
 CARPENTER, LLP                                     LLP

 By:_/s/ Gary D. Bressler__________________ By:__/s/ Steven W. Golden_____________
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                                                   Email: sgolden@pszjlaw.com
 Counsel for Westchester Fire Insurance
 Company                                           Counsel for the Trustee of the
                                                   International Shipholding GUC Trust

 Dated: September 6, 2018

 AKIN GUMP STRAUSS HAUER & FELD
 LLP

 By:_/s/ Sarah Link Schultz_______________
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 Dated:               , 2018
          New York, New York
                                           ____________________________________
                                           HONORABLE STUART M. BERNSTEIN
                                           UNITED STATES BANKRUPTCY JUDGE




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